                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:12-cr-115
                                                      )
v.                                                    )
                                                      )       MATTICE / LEE
PAMELA WALTERS                                        )

                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 28, 2013.

At the hearing, Defendant moved to withdraw her not guilty plea to Count One of the four-count

Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

that is of conspiracy to manufacture and distribute Five (5) grams or more of methamphetamine

(actual) and Fifty (50) grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1),

and 841(b)(1)(B) in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find the Defendant is fully capable and

competent to enter an informed plea; the plea is made knowingly and with full understanding of each

of the rights waived by Defendant; the plea is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; the Defendant understands the nature of

the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND Defendant’s motion to withdraw her not guilty plea to Count

One be granted, her plea of guilty to the lesser included offense of the charge in Count One, that is

of conspiracy to manufacture and distribute Five (5) grams or more of methamphetamine (actual)

and Fifty (50) grams or more of a mixture and substance containing a detectable amount of




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methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1),

and 841(b)(1)(B) be accepted, the Court adjudicate Defendant guilty of the lesser included offense

of the charge in Count One, that is of conspiracy to manufacture and distribute Five (5) grams or

more of methamphetamine (actual) and Fifty (50) grams or more of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and a decision on whether to accept the

plea agreement be deferred until sentencing. Defendant filed a motion to remain on bond after entry

of her plea pending sentencing pursuant to 18 U.S.C. §§ 3143 & 3145(c) [Doc. 56]. The

Government did not object to Defendant’s claim that exceptional reasons exist making detention

inappropriate under 18 U.S.C. § 3145(c). Therefore Defendant’s motion to remain on bond pending

sentencing is GRANTED [Doc. 56] and a separate Order has been entered on the record. Therefore,

I further RECOMMEND Defendant remain on bond until sentencing in this matter. Acceptance

of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen (14) days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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